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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                               MIDLAND/ODESSA DIVISION


R. ALEXANDER ACOSTA,                                  )
Secretary of Labor,                                   )
United States Department of Labor,                    )      Civil Action
                                                      )      No. 19-146
       Plaintiff,                                     )
v.                                                    )
                                                      )
NICK SOLIS, EMILY SOLIS, and                          )
WEST TEXAS BULLDOG OILFIELD                           )
SERVICES LLC HEALTH PLAN,                             )
                                                      )
         Defendants.                                  )

                                          COMPLAINT

       Plaintiff, R. Alexander Acosta, Secretary of Labor, United States Department of Labor,

brings this action against Defendants Nick Solis, Emily Solis, and West Texas Bulldog Oilfield

Services LLC Health Plan, pursuant to Sections 502(a)(2) and 502(a)(5), 29 U.S.C. §§

1132(a)(2) and 1132(a)(5), of the Employee Retirement Income Security Act of 1974, as

amended, 29 U.S.C. § 1001 et seq. (“ERISA”), for appropriate equitable and remedial relief

under ERISA Sections 409 and 502(a)(5), 29 U.S.C. §§ 1109 and 1132(a)(5), to enjoin violations

of the provisions of Title I of ERISA, and to obtain other appropriate relief to redress violations

and to enforce the provisions of Title I of ERISA.

                                        I. JURISDICTION

       Jurisdiction of this action is conferred upon the Court by ERISA Section 502(e)(1), 29

U.S.C. § 1132(e)(1).

                                            II. VENUE

       Venue of this action lies in the United States District Court for the Western District of
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Texas, pursuant to ERISA Section 502(e)(2), 29 U.S.C. § 1132(e)(2).

                                          III. THE PLAN

       West Texas Bulldog Oilfield Services LLC Health Plan (“the Plan”) was at all times

hereafter mentioned an employee welfare benefit plan within the meaning of ERISA Section

3(3), 29 U.S.C. § 1002(3). The Plan was established by, and at all times hereinafter mentioned

was maintained by, West Texas Bulldog Oilfield Services LLC (“the Company”), an employer

engaged in commerce or in an industry or activity affecting commerce, and is subject to Title I

including Title I, Part 4 of ERISA pursuant to ERISA Sections 4(a)(1) and 401(a), 29 U.S.C. §§

1003(a)(1) and 1101(a). During all times hereinafter mentioned, the Plan was administered in

Crane, Texas, within the jurisdiction of this Court.

                                     IV. THE DEFENDANTS

       A.        At all relevant times, Defendant Nick Solis was the CEO and half owner of the

Company and acted on its behalf with respect to the Plan. At all relevant times, Nick Solis was

the a fiduciary and a party in interest with respect to the Plan within the meaning of ERISA

Sections 3(14) and 3(21)(A), 29 U.S.C. §§ 1002(14) and 1002(21)(A), in that he had or exercised

discretionary control over the Plan assets. At all relevant times, Nick Solis conducted his

fiduciary duties concerning the administration of the Plan in Crane, Texas, within the jurisdiction

of this Court.

       B.        At all relevant times, Defendant Emily Solis was half owner of the Company and

acted on its behalf with respect to the Plan. At all relevant times, Emily Solis was the a fiduciary

and a party in interest with respect to the Plan within the meaning of ERISA Sections 3(14) and


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3(21)(A), 29 U.S.C. §§ 1002(14) and 1002(21)(A), in that she had or exercised discretionary

control over the Plan assets. At all relevant times, Emily Solis conducted her fiduciary duties

concerning the administration of the Plan in Crane, Texas, within the jurisdiction of this Court.

C.     The Plan, as described in paragraph III above, is joined as a party defendant pursuant to

Rule 19(a) of the Federal Rules of Civil Procedure solely to assure that complete relief can be

granted.

                                 V. FACTUAL ALLEGATIONS

       A.      The Plan was a fully insured health and welfare plan that was established by the

Company in 2008 to offer medical coverage to employees.

       B.      At all relevant times, Blue Cross Blue Shield of Texas (“BCBSTX”) acted as the

Plan’s medical insurance carrier.

       C.      At all relevant times, the Plan was 75% funded by employer contributions and

25% by deductions from participating employees’ paychecks.

       D.      The Company served as Plan Administrator, and was also responsible for

collecting and forwarding employee contributions to the Plan and for satisfying the notice,

disclosure, and other obligations placed on administrators by ERISA.

       E.      At all relevant times, Nick Solis and Emily Solis (the Solis Defendants) were

signatories on the Company’s general banking accounts and acted on behalf of the Company in

its capacity as the Plan Administrator. Nick Solis made the final determination as to when

monthly premium payments were made to BCBSTX electronically via their web portal. Emily

Solis arranged and contracted for coverage with BCBSTX on the Company’s behalf, remained


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the point of contact for communications from BCBSTX, continued to execute BCBSTX

administrative documents on behalf of the Plan, and directed the work of staff engaged in

administration of the Plan.

        F.      Between January 13, 2017, and March 15, 2017, the Solis Defendants failed to

properly administer the Plan in that they continued to withhold employee contributions from

participants’ paychecks but failed to forward these amounts to the Plan.

       G.       During this same time period, the Solis Defendants also failed to collect on the

Plan’s behalf the Company’s portion of the BCBSTX premiums.

       H.       The Solis Defendants were aware of the delinquent payments through

communications from BCBSTX and were aware of the ramifications of continued delinquency—

namely cancellation of coverage—because this had occurred twice in 2016.

       I.       The Solis Defendants never informed Plan participants that they were at risk of

losing their insurance coverage for non-payment of premiums.

       J.       Sometime in March 2017, BCBSTX cancelled the participants’ coverage with a

retroactive cancellation date of January 1, 2017.

       K.       Because the Solis Defendants continued to deduct premium payments from

employee paychecks until March 2017 without notifying participants that premiums were going

unpaid, the Solis Defendants caused Plan participants to believe that they were continued to seek

medical services as usual after January 1, 2017, based on their reasonable belief that the services

would be covered.

       L.        Any charges for these medical services were subsequently billed directly to


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participants because their coverage had lapsed.

                                     VI. ERISA VIOLATIONS

       A.        As a result of the aforementioned failures, Defendants Nick Solis and Emily Solis

have violated the provisions of ERISA in that they:

                 (1)    Failed to hold Plan assets for the exclusive purpose of providing benefits

to Plan participants and their beneficiaries and defraying reasonable expenses of administering

the Plan, in violation of ERISA § 403(c)(1), 29 U.S.C. § 1103(c)(1);

                 (2)    Failed to discharge their respective duties with respect to the Plan solely in

the interest of the participants and beneficiaries and for the exclusive purpose of providing

benefits to participants and their beneficiaries, in violation of Section 404(a)(1)(A) of ERISA, 29

U.S.C. § 1104(a)(1)(A);1104(a)(1)(A);

                 (3)    Failed to discharge their respective duties with respect to the Plan with the

care, skill, prudence, and diligence under the circumstances that a prudent person acting in a like

capacity and familiar with such matters would use in the conduct of an enterprise of a like

character and with like aims, in violation of Section 404(a)(1)(B) of ERISA, 29 U.S.C. §

1104(a)(1)(B);

                 (4)    Caused the Plan to engage in transactions which they knew or should have

Known constituted a direct or indirect transfer to, or use by or for the benefit of, a party in

interest, of assets of the Plan, in violation of ERISA Section 406(a)(1)(D), 29 U.S.C. §

1106(a)(1)(D); and

                 (5)    Dealt with assets of the Plan in their own interests or for their own account


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in violation of Section 406(b)(1) of ERISA, 29 U.S.C. § 1106(b)(1); and

               (6)     Engaged in transactions involving the Plan on behalf of a party whose

interests were adverse to the interests of such Plan and the interests of its participants and

beneficiaries in violation of Section 406(b)(2) of ERISA, 29 U.S.C. § 1106(b)(2).

       B.      Defendants Nick Solis and Emily Solis’s violations resulted in 38 participants

losing medical coverage even though their share of the required premiums (totaling $11,731.62)

continued to be deducted from their paychecks, with 10 of those participants incurring unpaid

medical expenses (totaling $16,783.22) because BCBSTX denied their claims on account of their

coverage lapsing.

                         VII. DIRECT LIABLITY FOR PLAN LOSSES

       As a result of engaging in breaches of their fiduciary responsibilities, obligations, and

duties, as described in Part VI of this Complaint, Defendants Nick Solis and Emily Solis are

subject to equitable or remedial relief as the court may deem appropriate, including removal and

injunctive relief pursuant to ERISA Sections 502(a)(2) and 502(a)(5), 29 U.S.C. §§ 1132(a)(2)

and 1132(a)(5).

                                VIII. COFIDUCIARY LIABILITY

       Pursuant to the provisions of ERISA Section 405, 29 U.S.C. § 1105, Defendants Nick

Solis and Emily Solis are fiduciaries with respect to the Plan and are personally liable for the

breaches of fiduciary responsibility committed by their co-fiduciaries set forth in paragraph VI,

above, in that they were each aware of the actions and, specifically, the respective inactions of

their co-fiduciaries that resulted in the failures to administer the Plan and arrange for proper Plan


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termination and Plan account distributions, were able to take action to remedy the violations, and

failed to do so.

                                              IX. PRAYER

         WHEREFORE, cause having been shown, Plaintiff, Secretary of Labor prays that this

Court:

         1.        Order Defendants Nick Solis and Emily Solis to restore to the Plan any losses

resulting from fiduciary breaches committed by them or for which they are liable;

         2.        Order Defendants Nick Solis and Emily Solis to pay all uncovered medical claims

incurred by Plan participants as a result of the aforementioned fiduciary breaches;

         3.        Order Defendants Nick Solis and Emily Solis to engage an independent

fiduciary—with advance notice to and consent of Plaintiff and at Defendants’ expense— to take

control of any recovered amounts and make distributions to the appropriate Plan participants;

         4.        Permanently enjoin Defendants Nick Solis and Emily Solis from violating the

provisions of ERISA;

         5.        Permanently enjoin Defendants Nick Solis and Emily Solis from acting as

fiduciaries to the Plan or any other employee benefit plan covered by ERISA;

         6.        Award plaintiff costs of this action; and

         7.        Provide such other remedial relief as may be appropriate.

                                                         Respectfully Submitted,

                                                         KATE O’SCANNLAIN
                                                         Solicitor of Labor




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                                 _________________
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